                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            FLORENCE DIVISION

Thomas Vest,                          )          Case No. 4:24-cv-03792-JD
                                      )
      Plaintiff,                      )
                                      )
                      vs.             )
                                      )                 ORDER
Lennar Carolinas, LLC,                )
                                      )
                      Defendant.      )
                                      )

      Before the Court is Plaintiff Thomas Vest’s (“Plaintiff” or “Vest”) Motion to

Remand (DE 30) this matter to the Horry County Court of Common pleas. Defendant

Lennar Carolinas, LLC (“Defendant” or “Lennar”), opposes the motion (DE 37), and

Plaintiff has replied (DE 42). For the reasons below, the Court grants Vest’s motion

to remand. (DE 30.)

                                   BACKGROUND

      On March 26, 2024, Plaintiff, a citizen and resident of South Carolina, filed

this construction defect action in the Horry County Court of Common Pleas against

Lennar. (DE 1-1.) On July 1, 2024, Defendant Lennar removed the action to this

Court based on diversity jurisdiction under 28 U.S.C. §§ 1332, 1441, and 1446. (DE

1.) Lennar is a limited liability company, whose sole member, Lennar Homes, LLC,

is a limited liability company, whose sole member, U.S. Home, LLC, is a limited

liability company, whose sole member, Lennar Corporation, is a corporation

incorporated under the laws of the State of Delaware with its principal place of




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business in Florida. (DE 1-2, ¶¶ 4–13.) Lennar is, therefore, deemed a citizen of

Delaware and Florida.

      On March 10, 2025, the Court granted Plaintiff’s unopposed motion to amend

the complaint (DE 23) to add Chaves Enterprises, Inc. (“Chaves”), a South Carolina

corporation that served as the contractor for the construction of Plaintiff’s residence.

(DE 24; see also DE 23-1.) Neither party said joinder of Chaves would deprive the

Court of subject matter jurisdiction. Plaintiff filed his Amended Complaint on March

14, 2025, formally adding Chaves as a defendant. (DE 25.) On April 17, 2025, Chaves

answered the Amended Complaint. (DE 39.)

      Plaintiff now moves to remand this case on the ground that the addition of

Chaves, a South Carolina citizen, eliminates complete diversity between the parties.

(DE 30.) Lennar opposes the motion, arguing, among other things, that Plaintiff’s

post-removal attempt to join a new, purportedly non-diverse defendant does not

automatically deprive the Court of subject matter jurisdiction and is premature

because Chaves has not yet appeared in the case. Lennar further asserts that if and

when Chaves appears, the Court may sever or remand and/or dismiss the claims

against Chaves in order to retain subject matter jurisdiction, with that determination

informed by Chaves’ defenses or arguments. (DE 37 at 2–3) (citing Rule 21 Fed. R.

Civ. P. (“Misjoinder of parties is not a ground for dismissing an action. On motion or

on its own, the court may at any time, on just terms, add or drop a party.”))




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                                    DISCUSSION

      Under 28 U.S.C. § 1447(e), “[i]f after removal the plaintiff seeks to join

additional defendants whose joinder would destroy subject matter jurisdiction, the

court may deny joinder, or permit joinder and remand the action to the State court.”

Here, however, joinder of the non-diverse defendant has already occurred, without

objection from Lennar. (See DE 24); see also Mayes v. Rapoport, 198 F.3d 457, 462

(4th Cir. 1999) (“the statute does not allow a district court to retain jurisdiction once

it permits a nondiverse defendant to be joined in the case.”)

      Even setting aside this jurisdictional threshold, the Court, in exercising its

discretion under § 1447(e), has carefully considered the relevant factors identified in

Mayes, including “the extent to which the purpose of the amendment is to defeat

federal jurisdiction, whether the plaintiff has been dilatory in asking for amendment,

whether the plaintiff will be significantly injured if amendment is not allowed, and

any other factors bearing on the equities.” Id. Having weighed these considerations,

the Court concludes that remand is appropriate.

      First, there is no indication in the record that Plaintiff sought to add Chaves

solely to destroy diversity jurisdiction or to defeat federal forum. Rather, Plaintiff’s

motion to amend was unopposed, timely, and based on the substantive role of Chaves

as the contractor allegedly responsible for the construction defects at issue. Second,

Plaintiff was not dilatory in seeking amendment; the motion was filed reasonably

soon after removal and before significant discovery or litigation milestones. Third,

denying joinder would significantly prejudice Plaintiff by requiring parallel litigation



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in state court to pursue claims against Chaves, who appears to be a central actor in

the underlying dispute.

       While Lennar argues that the Court could sever or dismiss the claims against

Chaves to preserve jurisdiction, the Court finds that such action is neither necessary

nor appropriate under the circumstances. Chaves appears to be a necessary party

under Federal Rule of Civil Procedure 19 because of its direct involvement in the

construction work underlying Plaintiff’s claims, and retaining jurisdiction solely over

Lennar while carving out claims against Chaves would risk inconsistent

adjudications and piecemeal litigation.

       Having weighed these considerations, the Court concludes that permitting

joinder and remanding the action to state court is the appropriate exercise of its

discretion under § 1447(e), notwithstanding Lennar’s request to preserve federal

jurisdiction.

                                   CONCLUSION

       For the foregoing reasons, Plaintiff Thomas Vest’s motion to remand (DE 30)

is GRANTED, and this matter is hereby remanded to the Horry County Court of

Common Pleas.

       IT IS SO ORDERED.




June 2, 2025
Florence, South Carolina

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